         Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 1 of 9


                                                            USDC SDNY
                                                            DOCUMENT
UNITED STATES DISTRICT COURT                                ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK                               DOC #: _________________
 ------------------------------------------------------X                 December 2, 2016
                                                            DATE FILED: ______________
                                                       :
 KELLY PRICE,                                          :
                                                       :
                                      Plaintiff,       :   15 Civ. 5871 (KPF)
                                                       :
                       v.                              :        ORDER
                                                       :
 THE CITY OF NEW YORK, et al.,                         :
                                                       :
                                      Defendants. :
                                                       :
 ----------------------------------------------------- X
KATHERINE POLK FAILLA, District Judge:

       The Court is in receipt of Defendant the City of New York’s letter

response to the Court’s Valentin Order, which letter was filed today, December

2, 2016. (Civil Docket Report, at Document No. 37). Within 30 days, Plaintiff

must file a Fourth Amended Complaint naming the Jane and John Doe

Defendants now identified as Inspector Obe and Selvena Brooks. The Fourth

Amended Complaint will replace, not supplement, the original complaint, and

Plaintiff may not add back into the Fourth Amended Complaint those claims

and those parties that have been dismissed from this litigation in this and prior

orders. An Amended Civil Rights Complaint form that Plaintiff should complete

is attached to this Order.

       By Order dated September 29, 2015, the Court granted Plaintiff’s request

to proceed without prepayment of fees, that is, in forma pauperis. To allow

Plaintiff to effect service on Inspector Obe and Selvena Brooks, the Clerk of

Court is hereby directed to complete the U.S. Marshals Service Process Receipt
         Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 2 of 9




and Return forms (“USM-285 forms”) with their addresses, and deliver all

documents necessary to effect service to the U.S. Marshals Service. Inspector

Obe can be served at the 28th Precinct, 2271-89 8th Ave., New York, N.Y.

Selvena Brooks can be served at 100 Gold St. 2nd Floor, New York, N.Y. The

Clerk of Court is further instructed to issue a summons and deliver to the

Marshals Service all of the paperwork necessary for the Marshals Service to

effect service upon these Defendants.

      Furthermore, the Court notes that it does not know why Plaintiff has not

executed the releases requested in this letter, or provided the additional

identifying information needed, but it will not compel Plaintiff to do take these

steps. The Court wishes to advise Plaintiff, however, that if she does not

provide the additional identifying information needed, it may not be possible for

her to pursue her claims against the remaining John and Jane Doe

Defendants. If Plaintiff wishes to vindicate her claims before this Court, it may

be in her interest to cooperate with the City of New York and assist with its

efforts to identify the remaining Defendants.

      SO ORDERED.

Dated:       December 2, 2016
             New York, New York                 __________________________________
                                                     KATHERINE POLK FAILLA
A copy of this Order was mailed by Chambers to:     United States District Judge

  Kelly Price
  534 W. 187th Street
  Apt. # 7
  New York, NY 10033




                                         2
Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 3 of 9
Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 4 of 9
Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 5 of 9
Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 6 of 9
Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 7 of 9
Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 8 of 9
Case 1:15-cv-05871-KPF Document 38 Filed 12/02/16 Page 9 of 9
